Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 1 of 21 PageID #: 2965




                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

MORINVILLE, )                                       Case No. 20-cv-00980
                          )
      Plaintiff, )
                          )
      v.              )
                          )
OVERWATCH )
TECHNOLOGIES, INC. ET )
AL.,                   )
                          )
      Defendants. )



                PLAINTIFF S MOTION TO AMEND COMPLAINT

                                 EXHIBIT A




                                      16
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 2 of 21 PageID #: 2966




                            Application for In-principle Advice
                                    (ASX Listing Rules 1.1 condition 1 and 1.19)
      Name of entity ABN/ARBN/ARSN/ACN

         Rision Limited                                                                     090 671 819

    We (the entity named above) supply the following information and documents to support our application
    for in-principle advice in connection with our suitability for admission to the official list of ASX Limited
    (ASX) as an ASX Listing under ASX Listing Rules 1.1 condition 1 and 1.19.1

    Note: Terms used in this Form have the same meaning as in the ASX Listing Rules.

    Instructions: please complete each applicable item below. If an item is not applicable, please mark it as N/A . If the item is being
    addressed by an attachment, please indicate the number of the attachment.


    Corporate details2

      Place of incorporation or                        Rision Ltd (ASX:RNL): Perth, Western Australia ("Rision )
      establishment
                                                      Overwatch Digital Health Inc: Texas, USA ( Overwatch )
                                                       BioEye, Ltd.: Hofit, Israel ( BioEye )

      Date of incorporation or                         RNL: Incorporated on 24 November 1999 in Australia.
      establish ent
                                                      Overwatch: Incorporated as SAE Digital Health, Inc. on 7 January 2019 in Texas (see
                                                      attached Certificate of Formation). On 1 February 2019, a certificate of amendment was
                                                      filed with the Texas Secretary of State to change the entity name from SAE Digital Health,
                                                      Inc. to Overwatch Digital Health, Inc. (see attached Certificate of Amendment).
                                                      BioEye: Incorporated 17 January 2017 in Israel (see attached Articles of Association).
                                                      BioEye s research and development efforts started prior to incorporation going back to
                                                      February 2014.

      If the applicant is a trust, name of            N/A
      responsible entity and place and
      date of incorporation or
      establishment of responsible
      entity

      Address and telephone number of                 RNL: Level 24,44 St Georges Terrace, Perth A 6000
      registered office in place of
                                                      Telephone: 08 6211 5099
      incorporation or establishment
                                                      Overwatch: 17440 Dallas Parkway, Suite 230, Dallas, Texas 75287, USA
                                                      Telephone: +61 (214)449-2187
                                                      BioEye: 8 HaTsedef St, Hofit, 4029500, Israel
                                                      Telephone: +972-545666683

      Address and telephone number of                 N/A
      principal administrative office (if
      different from registered office)



    1 ASX will provide the applicant with in-principle a vice on the application of Listing Rule 1.1 condition 1 an Listing Rule 1.19. For further information on
        seeking in-principle advice from ASX please refer to Guidance Note 1 Applying for Admission - ASX Li tings.
    2 If the entity is a stapled structure, please provide these details for each entity comprising the stapled structure. If this application relates to a back door
          listing of another entity, please provide these details both for the entity that is currently listed and for the entity that is being back door listed.


    Application for in-principle advice - ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                                               Page 1
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 3 of 21 PageID #: 2967




      Website URL                                         NL: Under construction
                                                        Overwatch: https://over atchdh.com/
                                                        BioEye: https.7/bioeye.com/




    Directors and management3

      Full name, title and brief bios of                Proposed Chief Executive Officer - Terry Fokas (see below for bio).
      CEO/managing director and other
      senior executives

      Full name, title and brief bio of the            Emmanuel Correia - Proposed Chairman of the Board of Directors. In the alternative,
      proposed chairperson of                          an individual with prior ASX Board of Directors experience (potentially, but not limited to,
      directors.                                       Clive Barrett). See below for bios of Messrs. Correia and Barrett.
      State whether the chairperson will be an
      executive or non-executi e director and, if
      the latter, hether he/she ill be
      independent4




    3 The details provided here should be for the irectors and management of the entity (or, if the entity is a trust, of the responsible entity of the trust) as they
        are proposed to be at the date the entity is admitte (or, in the case of a back oor listing, re-admitted) to the official list. In each case, the brief bios for
        each person shoul cover their experience (if any) in directing or managing an ASX listed entity and in irecting or managin an entity with the type of
        business the entity ill ha e at the time of admission (or, in the case of a back door listing, re-admission).
    4 Within the meaning of the ASX Corporate Governance Council s guidelines on independence.


    Application for in-principle advice - ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                                                 Page 2
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 4 of 21 PageID #: 2968




      Full names and brief bios of all                           Existing Directors (all to resi n coinciding with RTO completion)
      other directors and proposed
                                                     Adam Sierakowski - Non-Executive Chairman - Independent
      directors.
      State in each case whether he/she will be      Mr Sierakowski is a lawyer and founding director of the legal firm Price Sierakowski. He
      an executive or non-executive director
      and, if the latter, whether he/she will be
                                                     has ore than 20 years of e perience in legal practice, much of which he has spent as a
      independent5                                   corporate lawyer, consulting and advising on a range of transactions to a variety of large
                                                     private and listed public entities. He has advised and guided many companies undertaking
                                                     fundraising activities in Australia and seekin to list on the ASX.
                                                     As the co-founder of Trident Capital, Mr Sierakowski has also advised a variety of public
                                                     and private clients on the structuring of their transactions and has been engaged in co¬
                                                     ordinating fundraising both do estically and overseas. He has vast experience in
                                                     restructuring and ergers and acquisitions and has played a key role in the
                                                     recapitalisation of many ASX-listed companies.
                                                     Adam is currently also a director of Connected IO Ltd (CIO), Dragontail Systems Ltd
                                                     (DTS), Kinetiko Energy Ltd (KKO) and Coziron Resources Ltd (CZR).
                                                     John Gilfillan - Non-Executive Director - Independent
                                                     John Gilfillan has worked in the Financial Services for the last 24 years including operating
                                                     and owning his own practice for the last 18 years. He has also consulted to various
                                                     corporate advisors and been involved in nu erous ASX transactions. John is an
                                                     experienced Company Director having been involved in both technology and resource
                                                     sectors. John was a Non-Executive Director of Swala Energy (ASX: SWE), now Symbol
                                                     Mining (ASX: SL1)from 27 April 2017 to 18 December 2017, a Non-Executive Director of
                                                     Assemblebay Ltd (ASX : ASY), now Scandivanadium (ASX: SVD) from 19 November
                                                     2015 till 13 November 2018 and Empire Oil & Gas NL (ASX: EGO) since March 20 2018
                                                     and is a director of public unlisted Company First Class Financial Group.
                                                     Sean McCormick - Non-Executive Director - Independent

                                                     Sean McCormick (BEc (Hons), LLB) is an Associate at Trident Capital, which provides
                                                     corporate advisory services to ASX listed companies across a wide spectrum of
                                                     industries, including the resources and technology sectors and is experienced in advising
                                                     on initial public offerings, seed capital, mergers & acquisitions and reverse takeovers. He
                                                     has been a Non-Executive Director of ASX listed companies that have required
                                                     turnaround and restructuring: Empire Oil & Gas NL (ASX: EGO) since 20 March 2018,
                                                     Swala Energy Ltd (ASX: SWE), now Symbol Mining Ltd (ASX: SL1) from 27 April 2017 to
                                                     18 December 2017 and Hughes Drilling Ltd (ASX: HDX) from 16 August 2017 to 19
                                                     September 2019. Sean has previously worked in the restructuring division of a big four
                                                     professional services firm and prior to that as an associate advisor for a national
                                                     Australian stockbroker.



                                                                         Proposed Directors (effective upon RTO completion)
                                                     Terry Fokas - Proposed Executi e Director & Chief Executi e Officer
                                                     Mr. Fokas has over 20 years experience in software and intellectual property enforcement
                                                     and licensing and has successfully concluded licensing transactions with may Fortune
                                                     100 technology and product companies, including, Oracle Corporation, Google, Ford
                                                     Motor Company, Yahoo, SAP and Microsoft Corporation.
                                                       r. Fokas is the foun er and presi ent of Parallel Networks, LLC, a patent licensing and
                                                     technology company based in Dallas, Texas. Prior to founding Parallel Networks, Mr.
                                                     Fokas was a corporate finance attorney at the law firms of Brobeck Phieger & Harrison,
                                                     LLP (Dallas, Texas) and ilbank, T eed Hadley & cCloy, LLC (Ne York, NY)
                                                     specializing in mergers and acquisitions, public and private equity and debt financing
                                                     transactions and various U.S. Securities Exchange matters including registration of public
                                                     offerings of securities, 1934 Act reporting require ents and proxy solicitation atters.
                                                     Mr. Fokas received his Bachelor of Science in Business Management and Economics
                                                     from the State University of New York, Empire State College in 1993, his Juris Doctorate
                                                     cum laude from St. John's University School of Law in 1997 and his Master of Laws (LLM)

    5 Within the meaning of the ASX Corporate Governance Council's guidelines on independence.


    Application for in-principle a vice-ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                            Page 3
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 5 of 21 PageID #: 2969



                                                      with merit in international banking and finance la from The London School of Economics
                                                      and Political Science at the University of London in 1999. Mr. Fokas is ad itted to
                                                      practice law in Connecticut, New York and Texas as well as in the federal district courts
                                                      in the Northern and Eastern Districts of Texas
                                                      Mr E manuel Correia - Proposed Non-Executive Director

                                                      Mr Correia has over 25 years public company and corporate finance experience in
                                                      Australia, North America and the Unite King om and is a co-founder of Peloton Capital
                                                      and Peloton Advisory. Emmanuel specialises in the provision of corporate a vice in
                                                      relation to private and public capital raisings, mergers and acquisitions, corporate strategy
                                                      and structuring, initial public offerings, project an company valuations and corporate
                                                      governance.
                                                      Prior to co-founding Peloton Capital in June 2011, Mr Correia was the co-founder of
                                                      Cardrona Capital Pty Ltd, a boutique corporate finance and advisory firm which was sold
                                                      to an Australian based investment organisation. Emmanuel s previous experience has
                                                      also seen hi spend a nu ber of years working in the corporate finance industry for
                                                      various organisations including J.P. Morgan & Co. (London), Deloitte Corporate Finance
                                                      and the Transocean Group in Australia Mr Correia is an experienced public company
                                                      director/officer an is currently a non-executive director of Canyon Resources Limited,
                                                      and Argent Minerals Limited. Mr Correia is also the Company Secretary of Bluglass
                                                      Limited. He is currently a substantial shareholder in Overwatch Digital Health Inc
                                                      ( Overwatch ).


                                                     Clive Barrett - Proposed Non-Executive Director
                                                      Mr Barrett is the Executive Chairman of First Class Financial Group, a franchised financial
                                                      services company that comprises of 200 Franchisees all over Australia.
                                                      Mr Barrett founded his first co pany in 1985 at the age of 26 and has had an
                                                      accomplished career as entrepreneur and investor ever since. He’s been actively involved
                                                      in the Direct Response Television Industry (DRTV) in Australia for more than 20 years,
                                                      building various co panies. He’s also acted as an advisor to a number of businesses in
                                                      the marketing field, both in Australia and internationally. Over the years, he created a
                                                      range of DRTV products that resulted in distribution in over 40 countries.
                                                      Mr Barrett has substantially supported and invested in a number of biomedical companies
                                                      internationally. He is currently the majority investor in Overwatch.
                                                      Mr Barret was also Executive Director of ASX listed company Multi Channel Solutions
                                                      Limited (ASX: MUT) (formerly Sun Capital Group Limited (SEE) and subsequently
                                                      Bronson Group Limited (ASX: BGL) from 17 September 2004 - 27 November 2007.


                                                      William Austin Lewis IV -Proposed Non-Executive Director (Independent)


                                                     Mr. Lewis founded and serves as the portfolio manager of Lewis Asset Management and
                                                     he is responsible for day to day invest ent decisions involving three separate investment
                                                     funds. Le is Asset Management has Invested over $100 million in microcap technology
                                                     companies since its inception in 2004.

                                                     Prior to founding Lewis Asset Management, Mr. Lewis was a portfolio manager for Pu lisi
                                                     and Company where he actively anaged a small hedge fund which primarily owned
                                                     shares off emerging technology companies and he actively structure private investments
                                                     in publicly traded entities.

                                                     Mr. Lewis serves on the boards of directors of several private and public companies,
                                                     including, AM Software ( ember of the Audit and Compensation Committee 2008-
                                                     Present)’ Shipti e, Inc. (2017 - Present) and edite, Inc. (Chairman of the Audit
                                                     Committee 2016- 2017; Chairman of the Board 2017- Present)

                                                     Mr. Lewis is a graduate of James Madison University with a Bachelor of Business
                                                     Administration.

    Application for in-principle advice - ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                           Page 4
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 6 of 21 PageID #: 2970




       Are there concerns that a director               No.
       or proposed director of the entity
       may not meet ASX s good fame
       and character requirements?
       If yes, please provide details.

       Company secretary                                Nicki Farley


     Corporate advisers6

       Legal counsel                                    Price Sierakowski Corporate

       Auditor7                                         BDO Perth

       Investigating accountant                         BDO Perth

       Lead manager / underwriter8                     Trident Capital Pty Ltd or other (to be confirmed). Not currently underwritten.




    6 If this application relates to a back door listing, provide etails of the corporate advisers for the entity and the entity/business being back door listed.
    7 Inclu e the ate the current auditor was appointed.
   8 Specify hether the person is lead manager or under riter and, if the latter, the extent of the un erwriting.


   Application for in-principle advice - ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                                                Page 5
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 7 of 21 PageID #: 2971




   Business operations




                                                                                                  Page 6
    Application for in-principle advice - ASX Listing Rules 1.1 con ition 1 and 1.19 (31/03/17)
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 8 of 21 PageID #: 2972




      Describe the entity s history9                  Rision Ltd.
                                                                                                     History
                                                      Rision, Ltd. ("Rision or the Company ) was incorporated on 24 November 1999 and
                                                      listed on the ASX on 31 February 2002. Since its incorporation, the Company has
                                                      primarily operated as technology company, and it developed a staff planning and rostering
                                                      platform that allows businesses to schedule staff in an efficient anner.
                                                      On 17 April 2018, the Company was suspen ed from official quotation on the ASX and
                                                      began a review of the viability of its existing business while also searching for potential
                                                      new opportunities to benefit the Company s shareholders.
                                                                              Proposed Transaction with Overwatch and BioEve
                                                      Rision intends to enter into a binding Heads of Agreement to acquire 100% of the issued
                                                      and outstanding share capital of Overwatch Digital Health, Inc. ("Overwatch ). Overwatch
                                                      is an American-domiciled entity that developed and is currently marketing a proprietary
                                                      software application which monitors users for epileptic seizures via an Apple smartwatch
                                                      and sends alerts and data to caregivers and/or emergency medical personnel and doctors
                                                      in the event that a seizure event is detected (the Over atch App ). As a result of its
                                                      acquisition of BioEye, Ltd. ( BioEye ) (discussed more fully below), Overwatch is also
                                                      commercializing two products that provide medical personnel, coaches and athletes with
                                                      evidence of concussive brain injury and law enforcement authorities with evidence of
                                                      driver drug usage.

                                                                                                  Overwatch App
                                                      The Overwatch App is a proprietary epilepsy monitoring, detecting and alerting solution
                                                      designed to dramatically improve the lives of individuals living with epilepsy and their
                                                      caregivers and to provide seizure event information to doctors so they can effectively
                                                      design epilepsy treatment options for their patients. The Overwatch App unobtrusively
                                                      monitors individuals with epilepsy 24 hours/day; seven days/week while they are wearing
                                                      their Apple smartwatch and sends near instant alerts to designated caregivers or to
                                                        edical personnel when an epilepsy seizure has been detected. In addition to this
                                                      monitoring, detecting and alerting functionality, the Overwatch App collects and stores
                                                      seizure event data so that doctors can remotely review seizure information (such as
                                                      frequency, duration and severity) in order to adjust patients’ treatment protocols or to
                                                      design new treatment options. The Overwatch App works on Apple Series 3 Watches (or
                                                      newer) that are enabled with GPS + cellular capability. Overwatch is also designing an
                                                      Android-based monitoring, detecting and alerting solution with an anticipated release date
                                                      of Q3 2020 so that the Overwatch App will be able to work on both iOS and Android-
                                                      enabled smartwatches.

                                                                                  Overwatch - BioEye History and Acquisition
                                                      BioEye is an Israeli-domiciled entity that was formed to develop eye-tracking technology
                                                      which could capture and analyse ocular biomarkers to identify individuals at risk for
                                                      neurodegenerative disease (e.g. Alzheimer’s, Dementia, Parkinson’s Disease). In August
                                                      2019, Overwatch and BioEye commenced a technology collaboration effort to develop a
                                                      suite of products that utilized ocular biomarker analysis to detect changes in brain
                                                      function. In conjunction with this collaboration, Overwatch and BioEye integrated their
                                                      engineering and product development groups to further advance commercialization
                                                      efforts of these products.
                                                      In addition, the extensive background and expertise of BioEye’s engineering team in
                                                      developing cutting edge machine learning and artificial intelligence algorithms was heavily
                                                      utilized by Overwatch to significantly increase the seizure detection accuracy of the
                                                      Overwatch App. As a result of BioEye s machine learning acumen and the ongoing
                                                      development and commercialisation efforts between the two companies, Overwatch and
                                                      BioEye entered into an agreement in January 2020 for Overwatch to acquire all of the
                                                      issued and outstanding capital shares of BioEye. The closing of the Overwatch
                                                      acquisition of BioEye is scheduled to take place immediately prior to the closing of Rision’s
                                                      acquisition of Overwatch.




    Application for in-principle advice - ASX Listing Rules 1.1 con ition 1 and 1.19 (31/03/17)                                           Page 7
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 9 of 21 PageID #: 2973




    9 If this application relates to a back door listing, describe the history of the entity and the entity/business being back door liste .


    A plication for in- rinciple a vice-ASX Listing Rules 1.1 con ition 1 and 1.19 (31/03/17)                                                  Page 8
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 10 of 21 PageID #: 2974




                                                      Overwatch Digital Health, Inc.
                                                                                                     History
                                                      Overwatch was incorporated in Texas in January 2019 and to date as raised and invested
                                                      approximately US $2.1 million in technology development, business operations and sales
                                                      and marketing efforts.

                                                                        Proposed Acquisition of Intellectual Property of BioLert, Ltd.
                                                      Overwatch's engineering and product development teams in the United States, BioLert s
                                                      machine learning engineers in Israel and Overwatch s technical consultants in India have
                                                      expended thousands of hours in designing, developing and refining the Overwatch App
                                                      which is an iOS-based epilepsy monitoring and alerting software application.
                                                      Contemporaneously with those iOS-focused development efforts, Overwatch had entered
                                                      into an agreement to acquire the intellectual property of BioLert, Ltd., an Israeli technology
                                                      company which had developed an Android-based epilepsy monitoring, detection and
                                                      alerting software application.
                                                      However, during continued interface with the BioLert technology Overwatch determined
                                                      that its internally developed iOS-based Overwatch App (which utilized machine learning
                                                      algorith s designed by BioEye's engineering tea ) was significantly more accurate than
                                                      Biolert's original seizure monitoring and alerting software application.
                                                      Overwatch concluded that BioLert's industry-standard three-device monitoring, detection
                                                      and alerting technology platform (user s phone and smartwatch and a caregiver’s phone)
                                                      which suffered from synching and connectivity issues was inferior to the Overwatch App’s
                                                      simple and less-prone-to-failure two-device technology platform (user s smartwatch and
                                                      a caregiver’s phone).

                                                      Finally, the BioLert soft are application did not provide patient seizure infor ation to
                                                      medical professionals through a remotely accessible doctors' portal which Overwatch had
                                                      determined was a prerequisite to successfully marketing an epilepsy solution to the
                                                      medical community.
                                                                                    Beta/User Testin of The Overwatch App
                                                      In October 2019, Overwatch commenced beta or user testing of the Overwatch App with
                                                      a select group epilepsy patients in order to further evaluate and refine the accuracy of its
                                                      seizure detection algorith . Since October 2019, Overwatch has accu ulated over 3,000
                                                      hours of remote patient monitoring. Over atch recently increased its user testing group
                                                      from an initial cohort of five epilepsy patients to fifteen epilepsy patients. As a result of
                                                      this increase, Over atch anticipates that the aggregate remote patient monitoring data
                                                      that will be collected by the Overwatch App will be in excess of 7,000 hours over a six-
                                                      month testing period. This is in contrast to the 1,700 hours of re ote patient monitoring
                                                      that BioLert had accumulated over the course of its entire history.
                                                                                      Commercial Sales & Marketing Efforts
                                                     Overwatch will make the Overwatch App available to all consumers at the end of February
                                                     2020. Prior to this full commercial launch, Overwatch started marketing the Over atch
                                                     App to the consumer segment of the epilepsy community through a pre-launch
                                                     promotional sales campaign hich commenced in late November 2019. The pre-launch
                                                     promotional sales ca paign requires a subscriber to pay a one-time charge of $199 and
                                                     commit to a three-month subscription of Overwatch's monitoring and alerting ser ice in
                                                     order to receive an Apple Series 3 Watch (or newer) and an additional three-month
                                                     monitoring and alerting subscription without cost.
                                                      In addition to marketing the Over atch App to consumers, Overwatch intends to market
                                                      the Overwatch App to medical professionals by offering a monthly subscription plan which
                                                      gives them access to a doctors’ portal that will contain up-to-date patient seizure data.
                                                      (Refer to business description section for ore detailed infor ation)




    Application for in-principle advice - ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                           Page 9
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 11 of 21 PageID #: 2975




                                                                           Clinical Study - Covenant Hospital, Lubbock. Texas
                                                    Based on the quantum of remote patient monitoring hours accumulated from its user
                                                    testing group and in order to progress clinical validation of the Overwatch App, Over atch
                                                    is finalising a clinical study with Covenant Hospital (Lubbock, Texas) to conduct an
                                                    independent clinical trial in Covenant's epilepsy monitoring unit of the seizure detection
                                                    accuracy and efficacy of the Overwatch App.
                                                     Key details of the agreed clinical trial protocol is as follows:
                                                    Clinical trial site: Covenant Hospital, Lubbock, Texas, USA
                                                     Clinical trial commencement: - February 2020
                                                    Clinical trial size: 20 - 30 patients
                                                    Clinical trial duration: estimated to be 3 months
                                                    Clinical trial description: To assess the the specificity and sensitivity of a novel seizure¬
                                                    detection mobile software application with a generalized tonic/clonic seizure detection
                                                    algorithm (Motor Seizure Detection Algorithm - mSDA) installed on a wearable device
                                                    (Apple Watch Series 3 or newer) to be worn by the subject. The software will be tested
                                                    using subjects from a patient population in an epilepsy monitoring unit (EMU) undergoing
                                                    video and electroencephalograph (VEEG) observation. The number of generalized
                                                    tonic/clonic seizures detected by the mSDA will be compared with those detected by
                                                    VEEG. We hypothesize 91% overlap between the number of seizures detected by mSDA
                                                    and VEEG.


                                                     BioEye, Ltd.
                                                                              History; Technology and Product Development
                                                    BioEye was incorporated in Israel on 10 January 2017. The co pany's initial technology
                                                    efforts centred on developing an eye-tracking technology which would capture a short
                                                    video of a test subject's eyes, extract ocular biomarkers (e.g. pupil size, symmetry and
                                                    response, blink rate and response, and eye movements) in real-time, and then upload
                                                    those biomarkers to a big-data cloud repository for analysis. BioEye raised and invested
                                                    approximately US $1.1 million in technology development efforts and business operations.
                                                    BioEye s initial product development focus was to utilize its eye-tracking technology to
                                                    analyse ocular biomarkers to predict whether an individual was at risk of developing a
                                                    neurodegenerative disease (e.g. Alzheimer s, Dementia, Parkinson s Disease). However,
                                                    as a result of its technology collaboration initiative with Overwatch, BioEye decided to
                                                    prioritize development and commercialization efforts on two products that utilize ocular
                                                    biomarker analysis to provide medical personnel, coaches and athletes with evidence of
                                                    concussive brain injury ( Eympact ) and law enforcement authorities with evidence of
                                                    driver drug usage ( Eympair ).
                                                                                                Eympact
                                                    Eympact is Overwatch’s concussion detection product, which is based on BioEye's eye¬
                                                    tracking intellectual property and proprietary algorithms. Eympact uses a device coupled
                                                    with a camera to extract and record in real-time several ocular biomarkers (e.g. pupil size
                                                    and symmetry, blink rate, pupillary light reflex, etc.) to identify changes in brain function
                                                    which are indicative of a potential concussive brain injury. Eympact’s mobile eye tracking
                                                    and data collection capabilities paired with current concussion clinical standards provides
                                                    medical personnel with a unique and objective mobile side-line tool to identify changes in
                                                    brain function immediately following a sports-related concussive injury and throughout the
                                                    concussion rehabilitation process.


                                                                                                Eympair
                                                    Eympair is Overwatch’s drug detection product which is also based on BioEye’s eye¬
                                                    tracking intellectual property and proprietary algorithms. Eympair is downloaded onto a
                                                    device which utilizes com ercial grade ca era lens in order to record and analyse ocular
                                                    biomarkers and responses to distinct stimuli to determine whether a driver has ingested
                                                    marijuana, opioids, amphetamines, stimulates or barbiturates or an excessive amount of


    Application for in-principle advice-ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                          Page 10
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 12 of 21 PageID #: 2976




                                                      alcohol. Eympair is based on decades of university research documenting the effects that
                                                      drugs and alcohol have on ocular biomarkers and it provides police officers with real-time
                                                      information about a driver s drug and alcohol usage.


                                                      A diagram summary setting out the proposed Overwatch - BioEye transaction structure
                                                      is attached as Annexure A and a detailed history of Overwatch and BioEye from
                                                      inception to date is attached as Annexure B.




    Application for in-principle advice - ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                       Page 11
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 13 of 21 PageID #: 2977




       Describe the entity's10 main                                                             Overwatch App
       business activity or acti ities, the
                                                     Overwatch markets and sells pursuant to its pre-launch promotional sales campaign
       key features of its business model
                                                     (discussed above) the Overwatch App hich is a proprietary and cutting-edge seizure
       (ie how it makes or intends to
                                                     monitoring, detection and alerting software application. Users download the Overwatch
       make a return for investors or
                                                     App to their Apple Series 3 Watch (or newer) and the Overwatch App monitors for
      otherwise achieve its objectives),             abnormal movement which ay be indicative of a generalized tonic-clonic epileptic
      the material business risks it
                                                     seizure. hen the seizure detection algorithm of the Overwatch App determines that a
      faces, and its existing an
                                                     user s movement is likely a seizure, the Overwatch App causes the Apple Watch to send
      proposed level of operations11                 a message (via text or automated telephone call) to a designated caregiver alerting them
                                                     that a seizure event has occurred along with the GPS coordinates so that the user can be
                                                     located if assistance or medical intervention is required. The Overwatch App is slated for
                                                     commercial release in February 2020 and will be available for download on the Overwatch
                                                     website (www.overwatchdh.com) and on the Apple App Store. Overwatch is also
                                                     designing an Android-based seizure monitoring, detecting and alerting solution with an
                                                     anticipated co mercial release date of Q3 2020 so that the Overwatch App will work on
                                                     both iOS and Android-enabled smartwatches. When the Android version of the
                                                     Overwatch App is released, it will be available on the Overwatch website and on the
                                                     Google Play Store.
                                                    The Overwatch App is available to individuals in the epilepsy co munity through a onthly
                                                    subscription plan which costs US $29.99/month (the Overwatch App can only be activated
                                                    and used after the user has provided valid credit card details for automatic monthly billing).
                                                    This monthly subscription plan entitles the user to the onitoring, detecting and alerting
                                                    functionalities of the Overwatch App, GPS location tracking, a patient portal (online seizure
                                                    diary) and unlimited caregiver designations to receive alerts.
                                                    In addition to selling the Overwatch App direct to consumers, Overwatch will also market
                                                    the Overwatch App to the medical community so that doctors can remotely access - via a
                                                    doctors portal - information about their patients' seizure activity (frequency, severity and
                                                    duration) in order to adjust anti-epilepsy drug regimens and to tailor more effective
                                                    treatment protocols. Overwatch will charge an average of US $50.00/month per patient
                                                    to medical professionals who subscribe to the doctors portal (in addition, patients must
                                                    also pay US $29.99/month in order to obtain all the functionalities of the Overwatch App).
                                                    Overwatch strongly believes that the medical community will ultimately comprise a
                                                    significant percentage of the compan s overall revenue because the doctors’ portal allows
                                                    medical professionals to remotely monitor (on an hourly or daily basis, if warranted) their
                                                    patients with intractable epilepsy in order to rapidly update or adjust treatment options. In
                                                    addition, doctors who subscribe to the Overwatch doctors’ portal will be eligible to submit
                                                    for monthly insurance reimbursements through applicable current procedure terminology
                                                    (OPT) codes established by the Centers for Medicare and Medicaid Services (CMS is an
                                                    agency of the U.S. government that administers major health care programs)
                                                    Specifically, doctors who subscribe to the Overwatch doctors portal are eligible for
                                                    insurance reimbursement through CPT 99457 (Remote Physiologic Monitoring Treatment
                                                      anage ent Services) and CPT 99490 (Chronic Care anagement) which respectively
                                                    provide an average national monthly reimbursement to doctors of $64.15 per month per
                                                    patient (for CPT 99457) and an average monthly reimbursement to doctors of $42.00 per
                                                      onth per patient (for CPT 99490).
                                                     In 2019, CMS expanded the opportunities for doctors to submit for insurance
                                                     reimbursements under these codes in order to enhance patient access to medical care,
                                                     to promote technological innovation in healthcare delivery and because there is a large
                                                     body of evidence that well-run remote patient monitoring programs reduce e ergency
                                                     room and hospital utilization which all help reduce government and private insurer health¬
                                                     care costs. Further information about these insurance reimbursements is provided at the
                                                     end of Annexure B.

                                                    Because the Over atch App is not intended for use in the diagnosis of disease or other
                                                    conditions, or the cure, mitigation, treatment, or prevention of disease U.S. Food and
                                                    Drug Administration (FDA) approval for use is not required thus avoiding any delays in
                                                    the marketing of the Over atch App pending regulatory approval.
                                                    The main business risk to Overwatch is competitive threat. However, for the reasons
                                                    outlined in Annexure J, Overwatch believes that its monitoring, detecting and alerting

    Application for in-principle advice-ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                          Page 12
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 14 of 21 PageID #: 2978



                                                       platform is significantly advanced in relation to what other market participants are offering
                                                       that this risk is minimal.
                                                       Overwatch s epilepsy seizure monitoring, detecting and alerting technology is not driven
                                                       purely by commercial considerations. Epilepsy is the fourth most-common neurological
                                                       disease worldwide and it impacts a huge number of people directly and indirectly. The
                                                       wellbeing and social benefits of Over atch should not be un er-esti ated and some
                                                       further information is contained in Annexure C.
                                                                                                            Eympact
                                                       On 6 January 2020, Overwatch commenced a research study of Eympact with the Richard
                                                       E Lindner Centre for Athletics at the University of Cincinnati which is expected to progress
                                                       until mid-2020. Overwatch has also initiated discussions with Barrow Neurological
                                                       Institute in Phoenix, Arizona and with Northwell Health Systems in Manhansset, New York
                                                       to conduct additional multi-month clinical trials to further validate with the medical and
                                                       sports communities Eympact s ability to provide players, coaches and doctors with a
                                                       mobile (side line) concussion detection solution.

                                                       The global market for a mobile concussion detection product is enormous. In the United
                                                       States alone, more than three million sports-related concussions are reported each year.
                                                       The team sport in the United States with the highest reported incidences of concussive
                                                       brain injuries is football followed by girl s and women s soccer. There are 14,551 high
                                                       school, college and professional football teams in America and Overwatch will market
                                                       Eympact to football teams with an annual subscription-based revenue model.
                                                                                                            Eympair
                                                       Eympair will initially be rolled out to the law enforcement market in the United States where
                                                       law enforcement personnel undertake more than 19 million roadside vehicle stops and
                                                       inspections per year and arrest more than one million drivers for driving while impaired
                                                       from alcohol or narcotics. Eympair provides law enforcement agencies with objective
                                                       video evidence of changes to ocular biomarkers so that police officers can document
                                                       legally admissible probable cause evidence to uphold arrests and impairment
                                                       determinations thereby minimizing legal challenges and improving conviction rates.


                                                       On 1 October 2019, Overwatch commenced field testing of Eympact with drug recognition
                                                       expert officers from the police department in Mesquite, Texas and it is anticipated that
                                                       additional field testing will commence in early 2020 with other police departments
                                                       throughout Texas. These field tests will compare the drug usage results obtained by
                                                       Eympair ith the results of blood tests conducted by police laboratory testing facilities and
                                                       will validate Eympair’s ability to detect the presence of illegal drugs or excessive amounts
                                                       of alcohol in potentially impaired drivers.

      Where are the entity s main                       Overwatch’s current business activities are solely within the United States. Overwatch’s
      business activity or activities                   main office in Dallas, Texas is where the co pany’s U.S. engineering team, sales and
      conducted?12                                      marketing and executive officers are located. As a result of its acquisition of BioEye,
                                                        Overwatch also conducts business activities in Tel Aviv, Israel where additional
                                                        engineering resources and research and development efforts are located.

                                                         efer to Annexure D
      Attach a group structure diagram
      showing the entity, all child
                                                       In summary, all of the issued and outstanding capital shares of Overwatch will be acquired
      entities and all persons expected
                                                       by Rision.
      to have substantial holdings in the
      entity as at listing.
                                                       Immediately prior to Rision’s acquisition of Overwatch, all of the issued and outstanding
                                                       capital shares of BioEye will be acquired by Overwatch.




    10 If this application relates to a back door listing, provide this information for the entity and the entity/business being back door listed.
    1' If applicable, include information describing the scale of operations, such as revenue (historical and forecast), nu ber of customers, quantity of products
         sold, number of staff, etc.
    12 If this application relates to a back door listing, provide this information for the business being back door listed.


    Application for in-principle advice - ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                                           Page 13
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 15 of 21 PageID #: 2979




      Describe the entity s capital on                  Rision
      issue before the IPO, who owns
                                                        Rision proposes to consolidate its existing 1,382,545,960 FPO shares on a 1 for 28 basis
      it, the consideration paid and
                                                        as part of the RTO transaction, leaving 49,376,641 existing fully paid ordinary shares on
      when it was paid13.
                                                        issue prior to the issue of any new shares as part of the RTO Transaction.
                                                        The Company has a Loan Facility in the sum of $690,000 which subject to shareholder
                                                        approval is proposed to convert into 34,500,000 shares at $0.02 per ordinary share on a
                                                        post consolidation basis. Each share comes with one free attaching option at a strike
                                                        price of $0.02 per ordinary share.
                                                        It is anticipated that a further potential seed funding round of up to approximately
                                                        $450,000 may be undertaken (of which currently $218k banked) to fund the proposed
                                                        transaction costs. This potential additional seed ould also be at an effective price of
                                                          0.02 per share (post consolidation) and ay be by ay of shares or convertible security.
                                                        Overwatch
                                                         O erwatch (post              % of                                     RNL Shares
                                                         BioEye acquisition)          Overwatch         Total $ paid                                $/RNL share
                                                                                                                               150,112,443
                                                         OW Founder                   26.47%            0                                           $
                                                                                                                               150,112,443
                                                         OW Seed 1                    26.47%             $1,428,571.43                              $0.0095
                                                                                                                               72,463,718
                                                         OWSeed 2                     12.78%            $1,428,571.43                               $0.0197

                                                         OW Facilitators              13.19%            0                      74,775,111           $
                                                         BioEye acquisition           21.09%            $2,357,142             119,563,939          n/a
                                                         TOTAL                        100%                                     567,027,634
                                                         Seed 1 investors paid US$1.04m in Feb-March 2019.
                                                         Subsequent seed 2 round of up to US$lm currently underway (approx. US$800k banked)
                                                         Used conversion of $0.70
                                                         US$300,000 bridging loan taken on by Overwatch to be repaid from RTO proceeds as outlined ir
                                                         proposed use of funds.


                                                         Bioeye will be acquired by Over atch (pre RNL acquiring Overwatch) for deemed value of
                                                         US$1.65m of Over atch shares




      Proposed IPO capital raising                      Raise a minimum of $7,000,000 through the issue of at least 350,000,000 Shares (with
      (show separately, the number of                   the ability of the Company to take up to a further $3,000,000 in oversubscriptions) at an
      securities to be issued and the                   issue price of not less than $0.02 ( Offer )
      funds raised at both minimum and
      maximum subscriptions)

      The entity s indicative market                    Minimum Subscription A$7,000,000 @ $0.02: A$21.25m assuming that there are
      capitalisation based on its IPO                   1,062,684,559 fully paid ordinary shares quoted upon completion of the proposed
      price, at both minimum and                        transaction.
      maximum subscriptions
                                                        Over Subscriptions of up to A$3,000,000 @ $0.02: A$24.25m assuming that there are
                                                        1,212,684,559 fully paid ordinary shares quoted upon completion of the proposed
                                                        transaction.
                                                        If the prospectus subscription price can be done at higher than $0.02 per share then these
                                                        indicative market capitalisation estimates ould be proportionately higher.




     13 Include this information for any child entities, or if this application relates to a back door listing, provide this information for the business being back door
          listed.


     Application for in-principle advice - ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                                                Page 14
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 16 of 21 PageID #: 2980




      The anticipated free float14 of the             Minimum Subscription: -32.9%.
      entity at the time of listing, at both          Maximum Subscription: -41.2%.
      minimum and maximum
      subscriptions

      The proposed use of funds raised                              Product and Clinical
                                                                                                  $ 400,000             6%       $ 650,000                7%
      by the IPO, at both minimum and                 OW App De elopment
                                                              Marketing and Sales -
      maximum subscriptions                                                                       $ 1,450,000          21%       $ 1,900,000             19%
                                                      OWApp North America
                                                              Product and Clinical
                                                                                                  $ 300,000             4%       $ 470,000                5%
                                                      Eympair Develop ent
                                                              Marketing and Sales -
                                                                                                  $ 650,000             9%       $ 1,200,000             12%
                                                      Eympair North America
                                                              Product and Clinical
                                                                                                  $ 300,000             4%       $ 500,000                5%
                                                      Eympact Development
                                                              Marketing and Sales -
                                                                                                  $ 650,000             9%       $ 1,200,000              12%
                                                      Eympact North America

                                                                    Repayment of Loan             $ 430,000             6%       $ 430,000                4%

                                                                   Working capital                $ 1,955,000          28%       $ 2,605,000             26%
                                                                   Costs of the Offer             $ 865,000            12%       $ 1,045,000             10%
                                                                   Total                          $ 7,000,000          100%      $ 10,000,000            100%

                                                      Note: Working capital may include wages, payments to contractors, rent and outgoings, insurance, acco nting,
                                                      a dit, legal, other items of a general administrative nature.




      If the entity needs to acquire any              N/A.
      material land, plant and
      equipment or intellectual property
      rights or obtain any material
      licences, permits or other
      government authorisations to
      conduct its business at listing,
      please provide details

      Explain why the entity wishes to                The principal purpose of being listed on the ASX is provide the Company with access to
      list on ASX                                     cost effective capital and equity capital markets for commercial launch, along with
                                                      enhancing its public and financial profile. It also provides the avenue to raise potential
                                                      future funding to facilitate accelerated growth of the Company s business, including
                                                      potentially international markets penetration.
                                                      The key stakeholders of Overwatch appreciate the strong appetite investors have to
                                                      emerging healthcare and technology-based ventures like Overwatch and see the ASX as
                                                      the best option to facilitate Overwatch s development plans.
                                                      Two of the proposed non-executive directors (Emmanuel Correia and Clive Barrett) are
                                                      based in Australia and are seed investors in Overwatch.

      Has the entity made an                          No
      application to another exchange
      to list that was withdrawn or
      declined?
      If yes, provide details




    ,4 As per the definition of 'free float" in Cha ter 19 of the ASX Listing Rules.


    Application for in-principle advice - ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                                        Page 15
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 17 of 21 PageID #: 2981




     Financial statements

       Is the entity proposing to apply
       under the profit test (listing                      Profit test
       rule 1.2) or assets test (listing               IS) Assets test
       rule 1.3)?

       Attach a copy of the accounts                   Please refer to Annexure H. It contains:
       required to be lodged with ASX
                                                             • Full year 2019 reviewed accounts for Overwatch.
       under that test15
                                                             • Full year 2017, 2018 and 219 reviewed accounts for BioEye.



       Attach a pro-forma statement of                 Pro-forma statement of financial position is currently being finalised (Annexure I).
       financial position sho ing the
       entity s financial position at both
       minimum and maximum
       subscriptions16




     '5 Financial accounts required to be attached with the application:
     Profit test: attach audited accounts for the last 3 full financial years and, if the entity s last financial year ende more than 6 months and 75 days before the
     date of this application, audited or revie ed accounts for the last half year (or longer period if a ailable).


       ssets test: attach au ited accounts for the last 2 full financial years and, if the entity s last financial year ended more than 6 months and 75 days before the
     date of this application, audited or reviewe accounts for the last half year (or longer period if available). Also, if the entity has in the 12 months before the
     date of this application acquire , or is proposing in connection with its application for admission to acquire, another entity or business that is significant in the
     context of the entity, attach audited accounts for the last 2 full financial years for that other entity or business and, if the last full financial year for that other
     entity or business ende more than 6 months and 75 days before the date of this application, attach audited or reviewed accounts for the last half year (or
     longer period if available) for that other entity or business.


     16 If the entity is applying under the assets test (listing rule 1.3), this should clearly demonstrate the entity's co pliance with the minimum $4 million NTA
          require ent at the inimum subscription.



    Application for in-principle ad ice - ASX Listing Rules 1.1 condition 1 an 1.19 (31/03/17)                                                                      Page 16
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 18 of 21 PageID #: 2982




     Start-ups or entities with no material revenue (other than mining exploration and
     oil and gas exploration entities)
                                                   Overwatch believes it can achieve 10,000 subscribers to the Over atch App within one year
       Describe the key milestones for
                                                   from access to the ASX prospectus funds and 30,000 subscribers within two years from
       the entity to achieve profitability
                                                   access to the prospectus funds. Additional information around these figures are provided in
       and the likely time frame
                                                   Annexure K. Positive EBITA is forecast bet een 10,000 to 30,000 subscribers which is
       involved
                                                   considered very attainable in light of the fact that there are more than 3.4 million individuals
                                                   with epilepsy in the United States and that there are more than 65 million individuals with
                                                   epilepsy worldwide.

                                                   Eympact has commenced a multi-month clinical research study with the University of
                                                   Cincinnati to validate Eympact's ability to detect concussive brain injuries. Because
                                                   Eympact will be used by doctors in concussion clinics and on the side lines by coaches and
                                                   trainers, commercialisation activities for Eympact will not commence until the successful
                                                   conclusion of this clinical study which is estimated to be May or June 2020.

                                                    Ey pairhas commenced field trials with the Mesquite, Texas police department to validate
                                                   Eympair s ability to detect whether a driver has ingested illegal drugs. Because Ey pair is
                                                   not being used to assist doctors or trainers to identify a medical condition, clinical trials are
                                                   not required. Instead, Overwatch inten s to con uct field tests for several months ith the
                                                   drug recognition officers of at least two other large metropolitan police departments in order
                                                   to validate Eympair s drug detection accuracy. Upon conclusion of these field tests which
                                                   are estimated to be in April 2020, Overwatch ill co mence full-scale sales efforts to arket
                                                   Eympair to law enforcement organizations throughout the United States.


                                                   Overwatch commenced sales of the Overwatch App to users in late November 2019
      Describe the key commercial
                                                   pursuant to a pre-launch promotional sales campaign. Two dozen users were signed up to
      contracts the entity will have in
                                                   in the first two weeks of this pre-launch promotional sales campaign which requires a
      place at listing to move to ards
                                                   subscriber to pay a one-time charge of $199 and commit to a three-month subscription of
      profitability
                                                   Overwatch s monitoring and alerting service in order to receive an Apple Series 3 Watch (or
                                                   newer) and an additional three-month monitoring and alerting subscription without cost. To
                                                   date, 96 subscribers have signed up to Overwatch’s pre-launch promotional sales campaign
                                                   an more than 11,800 visitors have visited the Over atch website (w w.overwatchdh.com)
                                                   since the website's launch in late November 2019.

                                                   Funds from the prospectus will be substantially used for marketing an sales efforts directed
                                                   to the epilepsy community (patients and doctors), to complete clinical research studies for
                                                   Eympact, to commence additional field trials for Eympair and to commence sales and
                                                   marketing efforts related to those two products.




    Mining exploration and oil and gas exploration entities

      Describe the entity s                        N/A
      mining/petroleum tenement(s),
      where they are located, what
      exploration has been conducted
      to date, and the nature of the
      entity's interest in the
      tenement(s)




    Application for in- rinciple advice - ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                          Page 17
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 19 of 21 PageID #: 2983




     Entities with material intellectual property assets (such as technology and life
     science entities)

      Describe the current state of               Overwatch Intellectual Property
      development of the entit s
                                                  Overwatch is the applicant/assignee of four provisional patent applications filed with the
      intellectual property and what
                                                  United States Patent and Trademark Office (USPTO) as more particularly set forth below.
      funds have been expended on
                                                  Overwatch has expended US $2.1m to date on development of its intellectual property.
      development to date
                                                  Title: SYSTEM AND METHOD FOR PROVIDING AN INDI IDUALIZED ASSESS ENT
                                                  OF HEALTH-RELATED DATA
                                                  USPTO Application No.: 62/843,525
                                                  Filing Date: 5 May 2019

                                                  Title: SYSTEM AND METHOD FOR OPTIMIZING A PLURALITY OF DEVICES FOR AN
                                                  INDIVIDUALIZED ASSESSMENT OF HEALTH-RELATED DATA
                                                  USPTO Application No.: 62/843,526
                                                  Filing Date: 5 May 2019

                                                  Title: SENSOR AND METHOD FOR PROVIDING SENSORS FOR AN INDIVIDUALIZED
                                                  ASSESS ENT OF HEALTH-RELATED DATA
                                                  USPTO Application No.: 62/843,527
                                                  Filing Date: 5 May 2019

                                                  Title: SYSTEM AND METHOD FOR ENERGY MANAGEMENT FOR A PLURALITY OF
                                                  DEVICES FORAN INDIVIDUALIZED ASSESSMENT OF HEALTH-RELATED DATA
                                                  USPTO Application o.: 62/843,528
                                                  Filing Date: 5 ay 2019


                                                  BioEye Intellectual Property
                                                  BioEye is the applicant/assignee of three PCT provisional patent applications filed with the
                                                  Israeli Patent Office as more particularly set forth below. BioEye has expended US $1.1
                                                  million to date on development of its intellectual property.

                                                  Title: A METHOD FOR PUPIL DETECTION FOR COGNITIVE MONITORING, ANALYSIS,
                                                  AND BIOFEEDBACK-BASED TREATMENT AND TRAINING
                                                  PCT Application No.: WO 2018/142388
                                                  Filing Date: December 25, 2017

                                                  Title: A METHOD AND SYSTEM FOR EARLY DETECTION OF NEURODEGENERATION
                                                  USING PROGRESSIVE TRACKING OF EYE-MARKERS
                                                  PCT Application No.: WO/2019/092722
                                                  Filing Date: November 11, 2018

                                                  Title: A METHOD FOR PUPIL DETECTION FOR COGNITIVE MONITORING, ANALYSIS,
                                                  AND BIOFEEDBACK-BASED TREATMENT AND TRAINING
                                                  U.S. Patent Application No: 16/482,589
                                                  Filing Date: September 15, 2019



      Describe how and to what                    The core technologies underlying the three products being developed and/or
      stage the IPO will advance the              commercialised by Overwatch are protected by the provisional patent applications that
      development of the entity s                 have been filed by Overwatch and BioEye. Funds from the RTO Transaction will enable
      intellectual property                       Overwatch to file additional provisional patent applications to strengthen and broaden its
                                                  current intellectual property portfolio, to protect advancements of its core technologies and
                                                  to protect new technologies developed in the future by Overwatch's engineering teams.




    Application for in-principle advice-ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                         Page 18
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 20 of 21 PageID #: 2984




     Additional information for back door listings

      Describe the consideration                  The transaction will be sequenced as follows:
      being paid by the entity for the
                                                 The shareholders of BioEye (the BioEye Shareholders ) will transfer all of their issued
      entity/business being back door
                                                 and outstanding shares in BioEye to Overwatch in consideration for being issued shares in
      listed
      Note: if the entity/business being back    Overwatch. The BioEye/Overwatch transaction will close immediately prior to the closing of
      door listed a classified asset", the       the Rision/Overwatch transaction.
      consideration for the acquisition must
      be restricted securities                   The shareholders of Overwatch, which will now include the former BioEye Shareholders,
                                                 (collectively, the Overwatch Shareholders ) will then transfer all of their issued and
                                                 outstanding capital shares in Overwatch to the Company in consideration for the issuance
                                                 of 567,027,654 Company common shares (the Consideration Shares ) to the Overwatch
                                                 Shareholders based upon their respective pro rata ownership in Overwatch.
                                                  Proportionately, 447.463m of the Consideration Shares are for Overwatch exclusive of
                                                  BioEye and the remaining 119.565m Consideration Shares are for BioEye.
                                                  In addition, the Company will (subject to the attainment of certain performance milestones
                                                  more particularly set forth in Annexure E) issue up to 250,000,000 shares to Terry Fokas
                                                  (and/or his nominee s that are engaged as anagers or employees of the Company)
                                                  (“Performance Shares ).

      Describe the amount of                     From February 2019 through December 2019, Overwatch raised an aggregate of US $1.7m
      investment by the current                  million in investment financing. In January 2020 Overwatch raised a further US$400,000 in
      owners in the entity/business              financing and is currently raising the balance of a maximum amount of US $1 million in
      being back door listed                     investment financing which is expected to close in February 2020.
                                                 From June 2017 through December 2019, BioEye has raised US $1.1 million in financing.



      What percentage of the issued               Minimum Subscription: 53.4%
      capital of the entity are the
                                                  Maximum Subscription: 46.8%
      current owners of the
      entity/business being back door             This assumes $0.02 prospectus raise. Would be less if prospectus is done at higher price
      listed likely to have at the time           as the vend is fixed in shares, subject to $0.02 prospectus minimum price.
      the entity is re-ad itted to the
      official list, at both minimum
      and maximum subscriptions?

      Will any of the securities in the           Yes, the Company anticipates that the majority of the Consideration Shares and all of the
      entity to be acquired by the                Performance Shares will be subject to a 24-month escrow period.
      current owners of the
      entity/business being back door
      listed be restricted securities ?           Some minority Over atch seed investors may be unrelated seed investors and therefore
      If yes, please provide details              subject to cash relief formula-based escrow of their shares for 12 months from date of their
                                                  investment (~Feb/March 2019).


                                                  Some inority BioEye seed investors may be unrelated seed investors and therefore
                                                  subject to cash relief formula-based escrow of their shares for 12 months from date of their
                                                  investment.




    Application for in-principle advice-ASX Listing Rules 1.1 condition 1 an 1.19 (31/03/17)                                        Page 19
Case 4:20-cv-00980-KPJ Document 58-1 Filed 12/13/21 Page 21 of 21 PageID #: 2985




      Will the current owners of the              Yes.
      entity/business being back door
                                                  Terry Fokas is the proposed Chief Executive Officer and Executive Director and will receive
      listed have any ongoing
                                                  150m (26.5%) of the 567m RTO vend shares that are attributable to Overwatch.
      involvement in the board or
      management of the entity after
      it is re-admitted to the official
                                                  Emmanuel Correia is a proposed Non-Executive Director and will hold ~36.7m shares at
      list?
                                                  relisting. This is a combination of holding Overwatch founder shares, Overwatch convertible
      If yes, please provide details
                                                  notes, RNL convertible loans, BioEye shares and one third of the 23.75m Transaction
                                                  Success Fee.



                                                  Clive Barrett is a proposed Non-Executive Director and will hold ~130m shares at relisting.
                                                  This is a combination of holding Overwatch founder shares, Over atch convertible notes,
                                                  RNL convertible loans, BioEye shares and one third of the 23.75m Transaction Success
                                                  Fee.




    Application for in-principle advice-ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                      Page 20
